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                                                                                   United States District Court
                                                                                     Southern District of Texas

                                                                                        ENTERED
                          UNITED STATES DISTRICT COURT                                  April 18, 2024
                                                                                     Nathan Ochsner, Clerk
                           SOUTHERN DISTRICT OF TEXAS
                               HOUSTON DIVISION

INA BEALL,                                      §
                                                §
        Plaintiff,                              §
                                                §
VS.                                             §               Civil Case No. 4:22-CV-00979
                                                §
CITY OF HOUSTON and                             §
RENE CALDERON,                                  §
                                                §
        Defendants.                             §

 ORDER ACCEPTING FINDINGS, CONCLUSIONS, AND RECOMMENDATION
            OF THE UNITED STATES MAGISTRATE JUDGE

       Pending before the Court is the March 29, 2024, Memorandum and

Recommendation (“M&R”) prepared by Magistrate Judge Peter Bray. (Dkt. No. 51).

Judge Bray made findings and conclusions and recommended that the City of Houston’s

Motion to Dismiss, (Dkt. No. 46), and Sgt. Rene Calderon’s Motion to Dismiss, (Dkt. No.

47), be granted and that Plaintiff’s claims be dismissed with prejudice. (Dkt. No. 51).

       The Parties were provided proper notice and the opportunity to object to the M&R.

See 28 U.S.C. § 636(b)(1); Fed. R. Civ. P. 72(b). On April 15, 2024, Plaintiff filed an objection

to the M&R. (Dkt. No. 52). Although Plaintiff did not state the legal basis for her

objection, the Court understands that Plaintiff generally disagrees with the M&R.

       In accordance with 28 U.S.C. § 636(b)(1)(C), the Court is required to “make a de

novo determination of those portions of the [magistrate judge’s] report or specified

proposed findings or recommendations to which objection [has been] made.” After

conducting this de novo review, the Court may “accept, reject, or modify, in whole or in
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part, the findings or recommendations made by the magistrate judge.” Id.; see also Fed. R.

Civ. P. 72(b)(3).

       The Court has carefully considered de novo those portions of the M&R to which

objection was made, and reviewed the remaining proposed findings, conclusions, and

recommendations for plain error. Finding no error, the Court accepts the M&R and

adopts it as the opinion of the Court. It is therefore ordered that:

       (1)     Judge Bray’s M&R (Dkt. No. 51) is ACCEPTED and ADOPTED in its
               entirety as the holding of the Court;

       (2)     The City of Houston’s Motion to Dismiss, (Dkt. No. 46), is GRANTED;

       (3)     Sgt. Rene Calderon’s Motion to Dismiss, (Dkt. No. 47), is GRANTED; and

       (4)     Plaintiff’s claims are DISMISSED WITH PREJUDICE.

       It is SO ORDERED.

       Signed on April 18, 2024.


                                                 ___________________________________
                                                           DREW B. TIPTON
                                                 UNITED STATES DISTRICT JUDGE




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